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IN THE CIRCUIT COURT OF THE
NINTH JUDICIAL CIRCUIT IN AND
FOR OSCEOLA COUNTY, FLORIDA

GENERAL JURISDICTION DIVISION
CASE NO.:

SOUTHSTAR CAPITAL GROUP, 1,

LLC, a Florida limited liability company;
COTTINGTON ROAD TIC, LLC, a Delaware
limited liability company; and DURBAN ROAD
TIC, LLC, a Delaware limited liability company,

Plaintiffs,
Vv.

1662 MULTIFAMILY LLC, a Delaware limited

liability company; HINES 1662 MULTIFAMILY, LLC,

a Delaware limited liability company; HINES
INVESTMENT MANAGEMENT HOLDINGS LIMITED
PARTNERSHIP, a Texas limited partnership;

HIMH GP, LLC, a Delaware limited liability company;
HINES REAL ESTATE HOLDINGS LIMITED
PARTNERSHIP, a Texas limited partnership; HINES
INTEREST LIMITED PARTNERSHIP, a Texas

Limited Partnership; JCH INVESTMENTS, INC.,

a Texas corporation; and URBAN OAKS BUILDERS, LLC,
a Delaware limited liability company,

Defendants.
/

 

COMPLAINT FOR DAMAGES

Plaintiffs, Southstar Capital Group, I, LLC (“Southstar”), a Florida limited liability
company, Coltington Road TIC, LLC (“Cottington”), a Delaware limited liability company, and
Durban Road TIC, LLC (“Durban Road”), a Delaware limited liability company (collectively,
“Plaintiffs”), hereby suc Defendants, 1662 Multifamily LLC (1662 Multifamily”), a Delaware
limited liability company, Hines 1662 Multifamily, LLC (“Hines 1662”), a Delaware limited

liability company, Hines Investment Management Holdings Limited Partnership (“Hines
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Investment”), a Texas limited partnership, HIMH GP, LLC (*‘HIMH”), a Delaware limited.
liability company, Hines Real Estate Holdings Limited Partnership (“Hines Real Estate”), a
Texas limited partnership, JCH Investments, Inc., (“JCH”), a Texas corporation, and Urban
Oaks Builders, LLC (“UOB”), a Delaware limited liability company and Hines Interests Limited
Partnership, a Texas Limited Partnership (“Hines Interests LP’), (collectively referred to as the
“Hines Defendants”). Plaintiffs allege as follows:

I. PARTIES, VENUE, AND JURISDICTION

1. This is an action for damages in excess of $15,000.00 against the Defendants,
exclusive of interest, atlorneys’ feces and costs, relating to the construction, negotiation, and sale
of real property and improvements located alt 1662 Celebration Blvd., Celebration, Florida
34747, known as “Aviva at Celebration” (hereinafter the “Property”).

2, The Hines Defendants are Affiliates of cach other. The term “Affiliates” and all
other capitalized terms used herein will have the same meaning as defined in the Agrcement of
Sale and Purchase between Plaintiff Southstar and Defendant 1662 Multifamily (the
“Agreement” attached hereto as Exhibit 1).

3. Jurisdiction and venue are proper in Osceola County, Florida, insofar as (a) the
Property is located in Osceola County, Florida; (b) Section 17.8 of the Agreement provides that
“any action in connection with this Agreement shall be brought and maintained in the state or
federal courts that are seated in the city and county in which the property is located, and the
parties hereby consent and agree to the jurisdiction of such courts”; (c) as to Defendants. 1662
Multifamily and UOB, both Defendants are registered to do business in Florida, and the causes
of action against them accrued in Osccola County; and (d) as to the other Hines Defendants, they

are subject to Fla. Stat. $ 48.193(1)(a) (Florida’s Long Arm Statutc) because (i) the other Hines
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Defendants (along with UOB) are alter egos of Defendant 1662 Multifamily and, thus, they
along with 1662 Multifamily breached the Agreement, which was negotiated and entered into
within the State of Florida; and (ii) the other Hines Defendants, through 1662 Multifamily, a
sham and shell entity, solicited, accepted and transacted business within the State of Florida by
operating the Property in Osceola County, Florida.

4. Plaintiff, Southstar, is a Florida limited liability company with its principal place
of business in Palm Beach County, Florida.

5. Plaintiff, Cottingion, is a Delaware limited liability company that at all times
material was authorized to and conducting business.in Osceola County, Florida.

6. Plaintiff, Durban Road, is a Delaware limited liability company that at all times
material was authorized to and doing business in Osceola County, Florida.

7. Defendant, UOB, is a Delaware limited liability company authorized to and
conducting business in Osceola County and served as the licensed general contractor for work on
the Property pursuant to Florida Statute Section 489.119,

8. Defendant, 1662 Multifamily, is a Delaware limited liability company registered
and authorized to do business in the State of Florida.

9. Defendant, Hines 1662, is a Delaware limited liability company and is the
managing member of 1662 Multifamily.

10. Defendant, Hines Investment, is a Texas limited partnership and the managing
member of Hines 1662.

Il. Defendant, HIMH, is a Delaware limited liability company and is the general
partner of Hines Investment,

12. Defendant, Hines Real Estate, is a Texas limited partnership and is the sole
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member of HIMH.

13. Defendant JCH is a Texas corporation and is the general partner of Hines Real
Estate.

14. Defendant, Hines Interests LP, is a Texas Limited Partnership and parent of JCH.

i. GENERAL ALLEGATIONS COMMON TO ALL COUNTS

15. On or about July 1, 2016, South Star, as manager and agent for Cottington and
Durban Road, and Defendant, 1662 Multifamily, entered into the Agreement in which Plaintiffs
agreed to purchase and Defendant, 1662 Multifamily, agreed to sell the Property for
$67,000,000.

16. Plaintiffs, Cottington and Durban Road, are the record titlcholders of the Property,
as a result of the sale.

17. Pursuant to the Agreement, Defendant, 1662 Multifamily, made numcrous
material representations that Plaintiff relied upon in executing the Agrecment and purchasing the
Property. These material representations are set forth in ARTICLE VIII -
REPRESENTATIONS AND WARRANTIES, and include the following:

(h)} No Violations, To Seller’s Knowledge, Seller has not received
prior to the Effective Date any written notification from any
Authority (i) that the Real Property and Improvements is in
violation of any applicable fire, health, building, use occupancy or
zoning laws or (ii) that any work is required to be done to the Real
Property and Improvements where such work remains outstanding,
and, if unaddressed would have a material adverse effect on the
Property or use of the Property as currently operated.

(I} Permits. To Scller’s Knowledge, there are no open permits, nor
bonding requirements of Seller, relating to the Property. To
Seller’s Knowledge, Seller, or Seller's property management

agent, has obtained all necessary licenses to operate the Property as
presently operated,

 

18. In addition to the foregoing representations, Defendant, 1662 Multifamily, also
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undertook an express contractual duty to refrain from intentionally withholding, as well as an
actionable tort duty to not fraudulently fail to disclose to Plaintiff, any physical characteristic of
or existing condition on the Property then known to Defendant 1662 Multifamily, including but
not limited to structural conditions of the buildings on the Property.

19. Specifically, Section 5.6(b) of the Agreement states as follows:

(b) Purchaser's Waiver of Objections. Purchaser acknowledges that it
has inspected the Property, observed its physical characteristics and existing
conditions and had the opportunity to conduct such investigations and studies on
and of said Property and adjacent arcas as it deems necessary, and subject only to
Seller's responsibility for any breach of the warranty and representation contained
in Section 8.1(i) of this Agreement (as limited by Section 16.1 of this Agreement),
Purchaser hereby waives any and all objections to or complaints (including but
not limited to actions based on federal, state or common law and any private right
of action under CERCLA, RCRA or any other state and federal law to which the
Property is or may be subject) against Seller, its Affiliates, or their respective
officers, directors, partners, members, owners, employees or agents regarding
physical characteristics and existing conditions, including without limitation
structural and geologic conditions, subsurface soil and water conditions and solid
and hazardous waste and Hazardous Substances on, under, adjacent to or
otherwise affecting the Property or rclated to prior uses of the Property. The
Purchaser’s waiver as set forth in this Section 5.6(b) shall not apply in the
event that Seller either intentionally withheld or fraudulently failed to
disclose to Purchaser any physica] characteristic of or existing condition on
the Property as described above that was then known to Seller.

(Emphasis added.)

20. ‘Section 1.1 Definitions “To Seller’s Knowledge” is defined as the “present actual
(as opposed to constructive or imputed) knowledge of Jon Wood.”

21. Jon Wood was and is an employce of Hincs Interests LP.

22. Jon Wood was intimately involved in the development and construction of the
Property and was aware of the non-compliant and deficient construction practices being
implemented by UOB, Jon Wood was regularly present at the construction site and attended
numerous meetings with UOB. In doing so, he obtained actual knowledge of certain Hidden

Defects, as defined below.

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23. Subsequent to the purchase of the Property, Plaintiffs discovered that Defendant
1662 Multifamily, a sham entity and alter ego of the other Hines Defendants, intentionally
withheld, actively concealed, misrepresented, and/or fraudulently failed to disclose physical
characteristics and existing conditions, as well as other latent defective conditions, including but
not limited to extensive non-compliance with the as-built record drawings, and extensive
violations of the of the Florida Building Code, as well as other latent defective conditions, which
could not be observed or determined by the Plaintiffs through the exercise of ordinary reasonable
diligence (collectively, the “Hidden Defects”) that were known to.the Hines Defendants.

24. Specifically, as evidenced by ficld reports, extensive photographs and notes
prepared and maintained during construction of the Property and the as-built drawings indicating
that the construction conformed to the plans and specifications commissioned by the Hines
Defendants, as compared to the actual construction reviewed after destructive testing, the Hines
Defendants had actual and/or constructive. knowledge of the Hidden Defects.

25. The Hidden Defects could only be observed or determined to exist by the
Plaintiffs after the manifestation of certain Hidden Defects in February 2017 through emerging
vertical deflection of cantilevered balconies, as well as cracking of the walls, breezeways and
walking surfaces of the buildings. These emerging manifestations gave the first indication of
construction defects and resulting damage which led to the necessity to perform extraordinary
examinations to expose the Hidden Defects.

26. The Hidden Defects that existed but which had not manifested in any way at the
lime Plaintiffs purchased the Property, include but are not limited to:

a. Defective construction of the structural elements that was intentionally

and actively conccaled and not disclosed in the As-built Record Drawings.
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b. Defective construction that constitutes Building Code Violations.

C. Defective construction of the shear walls as required by the original plans
and specification for construction of the Property and Building Code, including, but not limited
to, improper spacing of framing clements, improper fasteners and fastener spacing, failure to
include support trusses and failure to properly install required strapping, all of which would have
been readily observable by the Hines Defendants before the drywall was installed,

d. Tension Rods that were not certified as to proper tension, and failed to
meet the requirement for anchorage in foundation clements.

€. Improper construction of structural members, including but not Jimited to,
columns, window jambs, door frames and cantilevering for the balconies.

f. Improper installation of structural Zip Board sheathing as part of the
building envelope, including over penctration of the fastencrs and improper installation of
required board tape, resulting in deterioration of the Zip Board from water intrusion.

g. Improper water proofing and flashing at balconies, windows and roofs,
including, but not limited to the failure to install required weep screeds to allow water to escape
the drainage plane system, failure to properly install flashing tape at balcony, roof and windows,
and.

27. These Hidden Defects caused the following substantial, matcrial and harmful
resulling damage and impacts to the Property:

a, The Property was condemned by the Osceola County Building
Department and a Notice of Evacuation was posted on all six buildings by the Osceola County
Building Official, pursuant to an Order dated August 14, 2017.

b. Cantilever balconies failed and were rendered unsafe for use.
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c. The above stated defects resulted in damage to other work on the Property,
including, but not limited to:

i. Watcr intrusion damaging other work clements of the buildings and
work of other subcontractors, including, but not limited to, framing
and interior finishes(i.e. drywall, wood molding, cabinetry, carpeting,
flooring, and electrical components) and resulting in mold growth;

ii. The need for extensive replacement of structural Zip Board sheathing
due to deterioration from water damage:

iii. Costs associated with removing drywall and stucco cladding to
investigate and repair damage to various elements of the construction
and defective work identified during Plaintiffs’ investigation,.as well
as subsequent replacement of the drywall and stucco cladding;

iv. Costs associated with returning affected units to market ready
condition and repair affected common areas;

v. Loss of rental income due to the defective construction and resultant
evacuation order, which remains ongoing;

vi. Costs associated with various professionals engaged to perform a full
evaluation of defects and damage and participate in the development
of repair protocols;

vii. Stigma damages resulting from the defective construction and resultant
evacuation order.

28. The Hines Defendants’ intentional withholding and fraudulent failure to disclose

the material information regarding Hidden Defects outlined in the preceding paragraphs was
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intended by the Hines Defendants 1o induce Plaintiffs 1o purchase the Property without the
benefit of the Hines Defendants’ superior knowledge of the Hidden Defects.

29.“ Plaintiffs would not have purchased the Property from Defendant 1662
Multifamily if Defendant 1662 Multifamily or the other Hines Defendants disclosed the Hidden
Defects to Plaintiff and/or would have not agreed to pay but a small fraction of $67,000,000.00.

30. At all relevant times, Defendant 1662 Multifamily was dominated and controlled
by the other Hines Defendants. The Hines Defendants are alter egos of cach other. Plaintiffs
seck to impose alter ego liability against Defendant 1662 Multifamily and the other Hines
Defendants to hold all Defendants responsible for the injuries caused to Plaintiffs by the Hines
Defendants’ scheme. to improperly withhold their knowledge of the Hidden Defects, fraudulently
induce the Plaintiffs to purchase the property and use 1662 Multifamily as a protective shield
while carrying out the scheme.

31. The Hines Defendants are inextricably intertwincd as parts of the same corporate
family, all of which are Affiliates under the control and management of Hines Interests LP and
JCH. As the ultimate parent companies, Hines Interest LP and JCH conduct all of their
operations through the Affiliates that are the othcr Hines Defendants. In this instance, a scheme
was carried out by the Hines Defendants which was premised upon the substantial sharing of the
Hines Defendants’ agents’ knowledge across and among all the Hines Defendants so that two of
the entities (i.c., Defendants 1662 Multifamily and UOB) could appear to carry out their duties
without actually having their own resources to do so, and without actually fulfilling those duties.
As detailed below, alter cgo liability is appropriate because (i) there exists such a unity of
interest and ownership that the separate identitics of the Hines Defendants were effectively

disregarded; and (ii) that disregard of scparate identitics resulted in substantial fraud and
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injustice to Plaintiffs.

32. | Prime examples of the Hines Defendants’ agents” knowledge of non-compliance
with legal requirements include but are not limited to the non-performance of the customary
activitics of a developer to assure that its licensed general contractor met all legal requirements,
including, but not limited to, licensed general contractors’ customary and legally defined duties
to supervise the Work to assure compliance with the Florida Building Code and all requirements
of the permitted construction documents. The Hines scheme allowed severely defective
construction work that violated the requirements of the Building Code, to be covered up and
hidden from view and inspection, followed by the submission of knowingly inaccurate and
misleading As-Built Record Drawings to the Osceola County Building Department. The Hines
Defendants knowingly failed to take necessary corrective actions to remedy the defects. The final
step in the Hines Scheme was to sell the Property on an As-Is basis. However, the Hines scheme
is barred by Section 5.6(b) of the Agreement, which expressly imposes liability for intentional or
fraudulent non-disclosure of material facts, such as Hidden Defects.

33. All conditions precedent to the filing of this action have been performed, have
occurred, have been excused and/or have been waived.

34, Asa result of the matters hereinafler described, the Plaintiffs were required to
retain the services of Weinberg Wheeler Hudgins Gunn & Dial, LLC and Podhurst Orseck, P.A.
to represent them in this cause and have bound and obligated themselves to pay such firms a
reasonable fee for their services.

35. Pursuant to Section 17.2 of the Purchase and Sale Agreement, Plaintiffs, as the
prevailing party in this action arc entitled to recover all attorneys’ fees and costs expended in

bringing this action, and Plaintiffs hereby demand same.

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Ii. APPLICABLE FLORIDA BUILDING CODE
36. Section 553.73, Florida Statutes (2001), prescribes the Florida Building Code as
one of the State of Florida’s minimum codes, which applics to the “design, construction,
erection, alteration, modification, repair, and demolition of public and private buildings,
structures, and facilities.” The Florida Building Code has been adopted in Osceola County,
Florida, and thus applies to and governs construction of the Property.
37, Section 553.84, Florida Statutes (2001), provides:
Notwithstanding any other remedies available, any person or party,
in an individual capacity or on behalf of a class of persons or
parties, damaged as a result of a violation of this part or the state
minimum building codes, has a cause of action in any court of
competent jurisdiction against the person or party who committed
the violation.

IV. CAUSES OF ACTION

COUNT | - PIERCING THE CORPORATE VEIL/ALTER EGO
(Hines Defendants)

38. Plaintiffs reallege paragraphs 1-37 above as though fully set forth herein.
39, The corporate form should be disregarded as between each of the Hines
Defendants for the following reasons:

a. Upon information and belief, the Hines Defendants operated as a single
economic entity that resulted in an overall element of injustice or unfairness to Plaintiffs in that
Defendant 1662 Multifamily, as the Seller of the Property to Plaintiffs, has no assets upon which
to compensate Plaintiffs for the damages that Defendant 1662 Multifamily and the other Hines
Defendants inflicted upon Plaintiffs;

b. Upon information and belicf, Defendant 1662 Multifamily was

undercapitalized:
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c. Upon infonnation and belief, and as further evidence of the unity of
interests, the policy providing insurance for work performed on the property was purchased by,
paid for and written in the name of Hincs Interest LP.

d. Upon information and belief, Defendant 1662 Multifamily and the other
Hines Defendants failed to observe corporate formalitics;

e. Upon information and belief, Defendant 1662 Multifamily paid dividends
or sale proceeds to the Hines Defendants, such that Defendant 1662 Multifamily was rendered
undercapitalized or insolvent;

f. Upon information and belief, the Hines Defendants siphoned funds from
Defendant 1662 Multifamily;

g. Upon information and belief, there was a material absence of separate
corporate records among the Hines Defendants; and

h. Upon information and belief, Defendant 1662 Multifamily and UOB were
facades for the operations of the other Hines Defendants.

40. Specifically, as set forth herein, a scheme was carried out by the Hines
Defendants, which was premised upon the substantial sharing of the Hines Defendants’ agents’
knowledge across and among all the Hincs Defendants so that two of the entities (Le,
Defendants 1662 Multifamily and UOB) could appear to carry out their duties without actually
having the resources to do so, and without actually fulfilling those duties.

WHEREFORE, Defendants 1662 Multifamily and the other Hines Defendants should be
treated as one entity for all purposes, including without limitation being held jointly and
severally liable for the damages to Plaintiffs.

COUNT 1] - FRAUDULENT NON-DISCLOSURE/FRAUDULENT INDUCEMENT
(Hines Defendants)

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41. Plaintiffs reallege paragraphs 1-37 above as though fully set forth herein.

42. Defendant 1662 Multifamily and the other Hincs Defendants, as alter egos of
Defendant 1662 Multifamily, had an actionable tort duty to not fraudulently fail to disclose to
Plaintiffs any physical characteristic of or existing condition on the Property then known by the
Hines Defendants, including but not limited to structural conditions of the buildings on the
Property.

43, The Hines Defendants breached the aforementioned duty by intentionally
withholding or fraudulently failing to disclose to Plaintiffs the Hidden Defects known to the
Hines Defendants prior to Plaintiffs’ purchase of the Property.

44. _ Plaintiffs could not have discovered the Hidden Defects prior to their purchase of
the Property. The Hidden Defects could only be observed or determined to exist by the Plaintiffs
after the manifestation of the Hidden Defects in February 2017 through vertical deflection and
cracking of the walls and walking surfaces of the buildings, which gave the first indication that it
was necessary to perform extraordinary examinations initially requiring removal of layers of
finish materials from the floor to ceiling of the residential units and progressing to include
exterior finish materials to expose the Hidden Defects.

45. | The Hidden Defects caused substantial, material and harmful impacts to the
Property.

46. | The Hines Defendants’ intentional withholding and fraudulent failure to disclose
ithe matcrial information regarding the Hidden Defects was intended by the Hincs Defendants to
induce Plaintiffs to purchase the Property without the benefit of the Hines Defendants’ superior
knowledge of the Hidden Defects.

47. Plaintiffs justifiably relicd to their detriment on the Hines Defendants’
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concealment and non-disclosure of the Hidden Defects. If Plaintiffs had known of the Hidden
Defects, Plaintiffs would not have purchased the Property and/or would not have agreed to pay
but a small fraction of the $67,000,000.

48. As a direct and proximate cause of the Hines Defendants’ scheme to improperly
withhold their knowledge of the Hidden Defects from Plaintiffs, Plaintiffs have suffered
damages, which they are entitled to recover from the Hines Defendants.

WHEREFORE, Plaintiffs demand judgment against the Hines Defendants for
compensatory damages in an amount in excess of $15,000.00 to be determined by the Court, plus
attomeys’ fees, interest and costs. In the alternative, Plaintiffs demand rescission of the
Agreement, plus attorneys’ fees, interest and costs.

COUNT Ill - BREACH OF CONTRACT - INTENTIONAL WITHHOLDING OF
MATERIAL INFORMATION
(Hines Defendants)

49. __ Plaintiffs reallege paragraphs 1-37 above as though fully set forth herein.

50. The Agreement is a valid and enforceable contract between Plaintiff Southstar
and Defendant 1662 Multifamily.

51. The other Hines Defendants are a party to the Agreement as alter cgos of
Defendant 1662 Multifamily.

52. Plaintiffs fully performed all of their obligations under the Agreement.

53. | The Hines Defendants possessed an express contractual duty to refrain from
intentionally withholding material information regarding any physical characteristic of or
existing condition on the Properly then known by the Hines Defendants, including but not
limited to structural conditions of the buildings on the Property.

54. Specifically, Section 5.6(b) of the Agrecment imposed upon the Hines Defendants

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the contractual duty to not intentionally withhold any physical characteristic of or existing
condition on the Property that was known to the Hines Defendants.

55. | The Hines Defendants breached the aforementioned duty to disclose known facts
relating to the Property by intentionally withholding disclosure of the Hidden Defects prior to
Plaintiffs’ purchase of the Property.

56. Plaintiffs could not have discovered the Hidden Defects prior to their purchase of
the Properly. The Hidden Defects could only be observed or determined to exist by the Plaintiffs
after the manifestation of the Hidden Defects in February 2017 through vertical deflection and
cracking of the walls and walking surfaces of the buildings, which gave the first indication that it
was necessary to perform extraordinary examinations requiring removal of lawyers of finish
materials from the Moor to ceiling of the residential units to expose the Hidden Defects.

57. The Hidden Defects had substantial, material and harmful impacts to the Property,
and caused resulting damage to the Property as set forth in paragraph 27 above.

58. If Plaintiffs had known of the Hidden Defects, Plaintiffs would not have
purchased the Property and/or would not have agreed to pay but a small fraction of the
$67,000,000.00 purchase price.

59. As a direct and proximate cause of the Hines Defendants’ breach of the
Agreement, Plaintiffs have suffered damages, which they are entitled to recover.

WHEREFORE, Plaintiffs demand judgment against the Hines Defendants for
compensatory damages in an amount in excess of $15,000.00 to be determined by the Court, plus
attorneys’ fecs, interest and costs.

COUNT IV ~- STATUTORY VIOLATION OF FLORIDA STATUTES 553.84
(Hines Defendants)

60. —— Plaintiffs reallege paragraphs 1-37 above as though fully set forth herein.
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61. Section 553.84, Florida Statutes (2001), expressly creates a statutory cause of
action on behalf of any person damaged as a result of a violation of the Florida Building Codes
Act (Sections 553.70, ef seq., Florida Statutes) against the party or parlics committing the
violations.

62. Defendant UOB was under a statutory duty to the Plaintiffs, pursuant to Florida
Statutes, Chapter 553, Part VII (“Building Code”), to properly construct and deliver, in
compliance with all applicable local, state, and national building codes and regulations, the
Property, as well as all property transferred with or appurtenant to the Property, all
improvements on the Property, all structural components of the buildings on the Property, all
other improvements, components, elements and systems for use on the Property, and all
mechanical, structural, electrical, plumbing elements serving the Property.

63. Defendant UOB in constructing and delivcring the Property to the owner and
developer failed to comply with and knew or should have known of non-compliance with
applicable local, state,.and national building codes and regulations, including but not limited to
the Building Code.

64. Specifically, the Hidden Defects that existed as a result of UOB’s improper
construction on the Property, which UOB knew or should have known existed, but which had not
visibly emerged at the time Plaintiffs purchased the Property, include but are not limited to:

a. Defective construction of the structural elements that was intentionally
and actively concealed and not disclosed in the As-built Record Drawings.

b. Defective construction that constitutes Building Code Violations.

c. Delective construction of the non-conlinuous shear walls as required by

the original plans and specification for construction of the Property and Building Code.

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d. Tension Rods that were not certified as to proper tension, and failed to
meet the requirement for anchorage in foundation elements.

c. Improper construction of structural members, including but not limited to,
columns, window jambs, door frames and cantilevering for the balconies.

f. Improper installation of structural Zip Board as part of the building
envelope, including over penetration of the fasteners and improper installation of required board
tape.

g. Improper water proofing and flashing at balconies, windows and roofs.
Defendants, UOB and Hines Interests LP, knew or should have known that its construction was
in violation of the applicable building code.

65. Due to Defendant UOB’s failure to comply with the Florida Building Codes Act,
about which UOB knew or should have known, Plaintiffs have proximately suffered damages
and will continue to suffer damages, including but not limited to the cost to correct Florida
Building Code violations, the cost to repair resulting damage to the Property as set forth in
paragraph 27 above and consequences of the manifestation of the discovery of those violations.

66. The other Hines Defendants are alter cgos of UOB and are, thus, liable to
Plaintiffs for UOB’s violations of Section 553.84, Florida Statutes.

WHEREFORE, Plaintiffs demand judgment against UOB and the other Hines
Defendants for damages in an amount in excess of $15,000.00 to be determined by the Court,
plus attorneys’ fees, interest and costs.

COUNT V - NEGLIGENCE
(Hines Defendants)

67. Plaintiffs reallege paragraphs 1-37 above as though fully set forth herein.

68. Defendant UOB was the general contractor for Defendant 1662 Multifamily and

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the other Hines Defendants for the construction of all improvements on the Property for
construction of all buildings, amenities and appurtenances, and was the building permit holder on
the Property. Defendant UOB. was responsible for supervising and implementing the proper
means and methods of construction for the Property, including (a) assuring the work was
properly performed by its subcontractors, and (b) assuring proper materials were supplied by the
subcontractors for construction, repairs, and improvements on the Property.

69. As the gencral contractor, Defendant UOB owed a duty to Plaintiffs to: (a) ensure
that construction was performed in accordance with the filed and approved plans and
specifications; (b) construct and provide materials free of defects for the construction on the
Property in compliance and conformance with applicable local and state building codes; and/or
(c) to perform its contractual and statutory duties, including but not limited to on-site supervision
and management services, to assure the proper construction and installation of the materials and
to do so with reasonable care in accordance with standards of good workmanship and good
construction practice, in accordance with applicable and accepted industry standards, and in a
manner which assured that the construction and materials were installed without defects and
deficiencies in accordance with applicable building codes and in compliance with the approved
plans and specifications.

70. Defendant UOB breached its duty to Plaintiffs by constructing and/or providing
defective materials in violation of applicable building codes and of good construction practice
and industry standards, and/or failed to perform their work using reasonable care to assure the
construction and materials were properly installed in conformance with applicable building
codes and in compliance with the approved plans and specifications.

71.  Specitically, the Hidden Defects that cxisted as a result of UOB’s negligent

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construction on the Property but which had not manilested in any way at the time Plaintiffs
purchascd the Property, include but are not limited to:

a. Structural Conditions that were concealed and not disclosed in the As-built
Record Drawings.

b. Building Code Violations.

C. Non-continuous Shear walls as required by the original plans and
specification for construction of the Property and Building Code.

d. Tension Rods that were not certified as to proper tension, and failed to
meet the requirement for anchorage in foundation elements.

e. Improper construction of structural members, including but not limited to,
columns, window jams, door frames and cantilevering for the balconies.

f, Improper installation of structural Zip Board as part of the building
envelope, including over penetration of the fasteners and improper installation of required board
tape.

g. Improper waterproofing and Mashing at balconics, windows and roofs. As

a direct and proximate result of Defendant UOB’s negligence and failure. to exercise a
reasonable degree of skill and care in constructing, administering, and/or approving the work
performed and the materials supplied in the construction of the Property, as well as its failure to
exercise a reasonable degree of skill and care in assuring that the work performed and the
materials supplicd were in accordance with the plans, specifications, the contracts, and the
applicable Florida Building Code, Plaintiffs suffered damages and will continue to suffer
damages, including but not limited to the costs lo repair and replace the deficiencies described

herein, as well as the cost to repair damage to the Property as set forth in paragraph 27 above.

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72. The other Hines Defendants are alter cgos of UOB and are, thus, liable to
Plaintiffs for UOB’s negligence.

73. As a direct and proximate result of Defendant UOB’s breach of its duty to
exercise reasonable care, Plaintiffs have proximately suffered and will continue to suffer
damages in excess $15,000.00 for investigation, evaluation, repair and replacement of defective
and damaged work, loss of use of the property including lost rents, stigma damages resulting
from the condemnation and evacuation of the Property by order of the Osceola County Building
Department, in addition to the costs and expenses associated with attorneys’ fees, costs, for
which Defendant UOB is liable.

WHEREFORE, Plaintiffs demand judgment against UOB and the other Hines
Defendants for damages in an amount in excess of $15,000.00 to be determined by the Court,
plus attorncys’ fecs, interest and costs.

DEMAND FOR JURY TRIAL

Plaintiffs demand a trial by jury of all counts so triable.

Dated: February 13, 2018
Respectfully Submitted,

s/ Michael A, Hornreich

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